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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                 MARTINSBURG


  UNITED STATES OF AMERICA,

                Plaintiff,

         v.                                                   Criminal Action No. 3:13-cr-33-02


  DARNELL LEON PLAINES,
  a/k/a “Smalls,”

                Defendant.


                REPORT AND RECOMMENDATION THAT DEFENDANT’S
                      MOTION TO SUPPRESS [121] BE DENIED

                                    I. INTRODUCTION

         This matter comes before the Court on Defendant Darnell Leon Plaines’ Motion to

  Suppress. (Def.’s Mot., Feb. 14, 2014, ECF No. 121). On February 19, 2014, the United States

  of America (hereinafter, “the Government”) filed its response to Defendant’s Motion. (Resp.,

  Feb. 19, 2014, ECF No. 126). On March 4, 2014, the Court held an evidentiary hearing and

  argument on Defendant’s Motion. Defendant appeared in person and by counsel, Paul Taylor,

  Esquire. The Government was present by Jarod Douglas, Assistant United States Attorney,

  appearing on behalf of Assistant United States Attorney, Stephen L. Vogrin. At the hearing,

  both Defendant and the Government called Sergeant Matthew Zollinger as a witness and the

  Government called Patrolman Shane Everhart, Sergeant Frank Polinik and Detective Jared

  Luciano as additional witnesses. The Court also admitted three exhibits submitted by the

  Government: the rental application for the apartment searched (Gov’t Ex. 1), the Residential

  Lease Agreement for the apartment searched (Gov’t Ex. 2), and the Search Warrant and property
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  receipt of items seized (Gov’t Ex. 3). (See Witness and Ex. List, ECF No. 166). No additional

  testimony or other evidence was presented.

      A. Background
          Defendant, Darnell Leon Plains, is one of four defendants in a seven (7) count

  Indictment, plus forfeiture allegation, relating to the distribution of cocaine base in or near

  Martinsburg, West Virginia. (Indictment, ECF No. 1). Defendant is only named in Count One

  (1) of the Indictment, which charges three (3) defendants with conspiracy to possess with intent

  to distribute and to distribute twenty-eight (28) grams or more of cocaine base, also known as

  crack, from approximately April 2013 to May 10, 2013 in or near Martinsburg, West Virginia.

  (Id. at 1-2).

      B. The Motion
          Defendant’s Motion to Suppress (ECF No. 121).

      C. Recommendation
          I respectfully recommend that Defendant’s Motion to Suppress (ECF No. 121) be

  DENIED because the warrantless protective sweep of the apartment was justified by the

  emergency exception and law enforcement officers properly obtained a search warrant for the

  items subsequently seized. Additionally, the Court finds that Defendant did not make any

  statements to law enforcement at the time the officers entered the apartment on May 10, 2013 or

  during the search the same day. Therefore, there are no out-of-court statements made by

  Defendant on May 10, 2013 to suppress.

                                             II. FACTS

          On May 10, 2013, at approximately 12:42 a.m., officers from the Martinsburg Police

  Department (“MPD”) responded to an alleged stabbing at 409 West Race Street, Martinsburg,

  West Virginia. When officers arrived at the scene, they met with medical personnel who were

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  outside of the apartment complex looking for a subject who was alleged to be stabbed at the

  location. The medics at the scene had keys to enter the common area of the apartment complex

  and unlocked the doors for officers. Once inside the common area, officers noticed blood and

  followed a trail of blood up the common stairwell to the second floor. The blood trail continued

  to Apartment No. 12 where officers noticed blood on the front door.1

          Officers knocked on the apartment door, identified themselves as law enforcement

  looking for a stabbing victim and asked that they be allowed to enter the apartment. Even though

  no one answered the door, officers heard the sound of someone moving around inside of the

  apartment. Officers did not hear anyone speaking inside the apartment. Officers then heard feet

  shuffling close to the door and someone attempted to turn the door knob from inside the

  apartment. Officers continued to request that the occupant open the door and after no response

  officers attempted to force entry. After several unsuccessful attempts, officers obtained a

  breaching tool from the medics and forcefully entered the apartment.

          Once inside the apartment, officers entered the living room and saw three individuals,

  two females and Defendant Plaines, sitting on two mattresses in the common area. The officers

  asked the individuals if there were an injured person in the home and they responded in the

  negative. Neither Defendant nor the two females made any additional statements at this time.

  Officers did a protective sweep of the other rooms on the first floor, which included the kitchen,

  bathroom and a bedroom. Officers also did a protective sweep of the upstairs loft, which was

  being used as a bedroom. While searching for the injured person upstairs, officers saw various

  contraband in plain view, including a firearm on the bed, a digital scale with white residue on the

  nightstand and a box of sandwich baggies on the floor. Officers did not locate an injured person


  1
   The apartment was leased to the two co-defendants in this case, Timothy Williams and Derrick Wells, who are
  brothers. (See Gov’t Ex. 1 and 2).
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  in the apartment. Defendant and the two females were moved outside of the apartment. After

  gathering his contact information, Defendant was allowed to leave the scene. Officers did not

  interview Defendant that night.

           Based on the items identified in plain view, officers obtained and executed a state search

  warrant for the apartment. In the upstairs bedroom, officers located and seized firearms, firearm

  parts, a large amount of cocaine base, a digital scale, a receipt for a storage unit leased to

  Timothy Williams and two identification cards belonging to Timothy Williams and Derrick

  Wells. Officers found no contraband in the kitchen or bathroom. In the first floor bedroom,

  officers found approximately $3,400 in cash in a shoe and another firearm. In the living room,

  officers located and seized approximately twenty-one (21) individual bags of crack cocaine,

  containing approximately half a gram of cocaine base each, from the television stand situated

  between the two mattresses.2

                                               III. DISCUSSION

      A. Contentions of the Parties
           Defendant’s Motion to Suppress generally contends that any and all evidence seized from

  “any premises in which Defendant has a reasonable expectation of privacy” must be suppressed

  because the searches were illegal “in that they were either conducted without a warrant and

  without other sufficient legal justification.” (Def.’s Mot. to Suppress, ECF No. 121 at 1).

  Defendant further argues that any search conducted with a warrant was illegal because the

  “warrant was insufficient on its face and the information contained in the affidavit for said search

  warrant failed to establish that probable cause existed for the issuance of said warrant.” (Id.). At

  the hearing, Defendant specified that he is seeking to suppress any items seized at the apartment.
  2
   Based on the testimony provided, other items may have been located and seized from the living room, including
  pills. An officer also testified that marijuana and/or marijuana paraphernalia was also in plain view in the living
  room when they first entered the apartment but the property receipt from the search warrant does not appear to list
  such items. (See Gov’t Ex. 3).
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  Additionally, Defendant requests that any statements made by Defendant in furtherance of the

  conspiracy at the time the officers entered the apartment be suppressed. (Id.).

         First, the Government states that the present Motion is untimely and should be denied

  outright because the Court’s pretrial motions deadline was set for January 24, 2014 and

  Defendant filed the motion on February 14, 2014. Second, the Government contends that

  Defendant has no reasonable expectation of privacy in the apartment, which belonged to

  Timothy Williams and Derrick Wells, and thus lacks standing to challenge the search of the

  apartment. (Opp’n to Def.’s Mot., ECF No. 126 at 11). The Government argues that even though

  Defendant was sleeping on a mattress in the living room, he was merely a “guest engaged in the

  business of drug distribution” while staying at the apartment and the Fourth Circuit has held that

  “in the context of a drug conspiracy, a guest involved in drug dealing at a residence is considered

  to be a ‘business, not a social, guest’ of the residence and therefore has no expectation of

  privacy.” (Id. at 9, 11) (citing United States v. Gray, 491 F.3d 138, 146-47 (4th Cir. 2007)).

  Third, the Government argues that warrantless search of the apartment was justified by the

  emergency exception to the warrant requirement. (Id. at 12). Fourth, the Government contends

  that the search warrant is procedurally and substantively valid. (Id. at 13). Lastly, the

  Government states that it is “unaware of any inculpatory statements Plaines made to law

  enforcement upon entry into the apartment.” (Id. at 14). Moreover, even if statements were

  made, Defendant was not in custody not under arrest and therefore any statements were not in

  violation of Miranda and would be admissible. (Id.).

     B. Legal Analysis

         1. Untimeliness of Motion
         According to the Initial Scheduling Order, motions were due on January 24, 2014,

  responses due by February 3, 2014 with the motions hearing to be set on February 4, 2014. (ECF
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  No. 95). Defendant filed his Motion to Suppress on February 14, 2014. (ECF No. 121). Despite

  the Motion being filed after the deadline provided by the Initial Scheduling Order, the Court

  elected to proceed with an evidentiary hearing and argument on the Motion. Moreover, neither

  party addressed the timeliness of the Motion at the evidentiary hearing on March 4, 2014.

  Therefore, the Court will consider the Motion on the merits.

         2. Standing/Reasonable Expectation of Privacy
         The Fourth Amendment is implicated when a government agent conducts a search in

  violation of an individual’s “reasonable expectation of privacy” in a protected area or item. A

  person has a constitutionally protected reasonable expectation of privacy when the person

  demonstrates a subjective expectation of privacy and the person’s expectation of privacy is one

  that society considers objectively reasonable. See Katz v. United States, 389 U.S. 347, 361, 88 S.

  Ct. 507, 516 (1967). For example, a person has a reasonable expectation of privacy in one’s

  home and personal belongings. (Id.).

         In order to challenge a search under the Fourth Amendment, the person must have a

  “reasonable expectation of privacy” in the item or place that was searched. See Rakas v. Illinois,

  439 U.S. 128, 143 (1978); see also Alderman v. United States, 394 U.S. 165, 174, 89 S. Ct. 961,

  966 (1969) (stating that “Fourth Amendment rights are personal rights which, like some other

  constitutional rights, may not be vicariously asserted.”). “A person who is aggrieved by an illegal

  search and seizure only through the introduction of damaging evidence secured by a search of a

  third person's premises or property has not had any of his Fourth Amendment rights infringed.”

  Rakas v. Illinois, 439 U.S. 128, 134, 99 S. Ct. 421, 425 (1978). In this sense, a person must have

  “standing” in order to challenge a search and seizure under the Fourth Amendment.

         While a person typically does not have standing to challenge a search and seizure of

  another person’s home, there are situations where a person “may have a legitimate expectation of
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  privacy in the house of someone else.” Minnesota v. Carter, 525 U.S. 83, 89 (1998). For

  example, the Supreme Court found that “an overnight guest has a legitimate expectation of

  privacy in his host's home.” Minnesota v. Olson, 495 U.S. 91, 110 S. Ct. 1684 (1990). The

  Supreme Court further clarified that “an overnight guest in a home may claim the protection of

  the Fourth Amendment, but one who is merely present with the consent of the householder may

  not.” Carter, 525 U.S. at 90. Similarly, in Jones, the Supreme Court found that the defendant had

  a reasonable expectation of privacy in another’s apartment because he had been given use of the

  apartment by a friend, kept clothing at the apartment, slept in the apartment for “maybe a night”

  and at the time of the search was the sole occupant of the apartment. Jones v. United States, 362

  U.S. 257, 259, 80 S. Ct. 725 (1960). Unlike overnight guests or residents, those “essentially

  present for a business transaction” and “only in the home a matter of hours” do not have a

  reasonable expectation of privacy in another person’s home. Carter, 525 U.S. at 90. Moreover, a

  person present in the home of another person for the purpose of distributing drugs does not have

  a reasonable expectation of privacy and therefore lacks standing to challenge an unlawful search.

  Gray, 491 F.3d at 146-47.

         During the evidentiary hearing, Sgt. Zollinger’s testimony indicated that Defendant

  Plaines occupied the common space of the living room. While Williams and Wells were the only

  two individuals named in the rental application and lease agreement, the parties do not dispute

  that there were mattresses and bedding on the floor where Defendant Plaines was found. The

  Government also stated in their Opposition to Defendant’s Motion that Ms. Paxton advised

  police that “Plaines slept on the box spring and mattress downstairs.” (Opp’n to Def.’s Mot.,

  ECF No. 126 at 5). Defendant Plaines was also a resident of Brooklyn, New York and no

  evidence was presented indicating he had a permanent residence at another location in West


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  Virginia. The Court finds that this evidence suggests that Defendant Plaines was an overnight

  guest at the apartment, at least on a temporary basis, rather than merely being present at the

  apartment for “business” related to drug distribution. Accordingly, Defendant Plaines, as an

  overnight guest, has an expectation of privacy in the common area he occupied at the residence.

         3. Emergency Aid Exception to Warrant Requirement

         The cornerstone of the Fourth Amendment is that “searches conducted outside the

  judicial process, without prior approval by judge or magistrate, are per se unreasonable under the

  Fourth Amendment - subject only to a few specifically established and well-delineated

  exceptions.” Katz v. United States, 389 U.S. 347, 357, 88 S. Ct. 507, 514 (1967). Thus, “[t]he

  Fourth Amendment generally requires police to secure a warrant before conducting a search. A

  warrantless search may nevertheless be valid, and the evidence obtained from that search may be

  admissible, if the search falls within one of the narrow and well-delineated exceptions to the

  Fourth Amendment’s warrant requirement.” United States v. Matthews, 591 F.3d 230, 234-35

  (4th Cir. 2009) (internal quotations and citations omitted). One of the specified exceptions to the

  warrant requirement is the presence of exigent circumstances, such as the belief that a person is

  seriously injured and in need of emergency aid. See Mincey v. Arizona, 437 U.S. 385, 392, 98 S.

  Ct. 2408, 2413 (1978) (explaining that “the Fourth Amendment does not bar police officers from

  making warrantless entries and searches when they reasonably believe that a person within is in

  need of immediate aid.”). “Thus, law enforcement officers may enter a home without a warrant

  to render emergency assistance to an injured occupant or to protect an occupant from imminent

  injury. This emergency aid exception does not depend on the officers’ subjective intent or the

  seriousness of any crime they are investigating when the emergency arises. It requires only an

  objectively reasonable basis for believing that a person within [the house] is in need of


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  immediate aid.” Michigan v. Fisher, 558 U.S. 45, 47 (2009) (internal quotations and citations

  omitted).

         In the present case, law enforcement officers first arrived at the scene in response to an

  alleged stabbing. After entering the apartment complex, officers saw blood in the common area

  and followed a trail of blood to Apartment No. 12 on the second floor. The door to Apartment 12

  was covered in blood. After knocking and identifying themselves as law enforcement, officers

  heard the shuffling of feet inside the apartment and noticed an occupant attempting to turn the

  door knob. Despite their repeated requests, no one opened the door requiring the officers to

  forcefully enter the apartment in order to locate the victim of the stabbing. The Court finds that

  based on these facts, the officers had an objectively reasonable basis for believing that a person

  inside Apartment No. 12 was in need of immediate medical attention. Once inside the apartment,

  the officers reasonably conducted a sweep of the apartment in order to locate the stabbing victim.

  Accordingly, the emergency aid exception to the warrant requirement applies and the warrantless

  search of the apartment was lawful.

         4. Search Warrant

         In order for a search and seizure by a government agent to be valid under the Fourth

  Amendment, the search warrant must be both procedurally and substantially valid. In order to be

  procedurally valid, the search warrant must “specify with particularity the place to be searched

  and the things to be seized.” Andresen v. Maryland, 427 U.S. 463, 492, 96 S. Ct. 2737, 2754

  (1976). Substantively, a warrant must be supported by probable cause. Probable cause is “a fair

  probability that contraband or evidence of a crime will be found in a particular place.” Illinois v.

  Gates, 462 U.S. 213, 238 (1983). Probable cause exists where “the facts and circumstances

  within their [the arresting officers’] knowledge and of which they had reasonably trustworthy


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   information [are] sufficient in themselves to warrant a man of reasonable caution in the belief

   that” an offense has been or is being committed.” Draper v. United States, 358 U.S. 307, 313

   (1959).

             In the present case, the West Virginia search warrant obtained by Detective Luciano

   states with sufficient particularity the place to be searched and the items to be seized. The search

   warrant is accompanied by a list of eight (8) items to be seized, including controlled substances,

   currency, firearms and ammunition, personal identifiers, drug paraphernalia, and other evidence

   of drug trafficking. (Gov’t Ex. 3 at 2). The affidavit attached with the search warrant describes

   the place to be searched as the residence located at 409 West Race St. Apartment 12 in

   Martinsburg, West Virginia. (Id. at 6). The Court finds that the search warrant properly lists with

   particularity the items to be seized and the location to the searched.

             Second, probable cause existed to justify the search warrant. As described in the affidavit

   in support of the search warrant, officers identified numerous items in plain view upon entering

   the apartment. (Gov’t Ex. 3 at 3-6). Specifically, police officers saw small individual plastic

   baggies, packaged pills, large ammunition magazine, a firearm, two pistol clips and drug

   paraphernalia. (Id.). The Court finds that the affidavit establishes probable cause to believe that

   additional contraband would be found inside the apartment. Accordingly, the search was

   conducted with a valid search warrant.

             5. Defendant’s Statements
             The Supreme Court of the United States has determined that “[p]rior to any questioning,

   the person must be warned that he has a right to remain silent, that any statement he does make

   may be used as evidence against him, and that he has a right to the presence of an attorney, either

   retained or appointed.” Miranda v. Arizona, 384 U.S. 467, 444 (1966). The remedy for the

   failure to give Miranda warnings and obtain a waiver before questioning is generally the
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   exclusion, or the suppression, of any obtained statements. Missouri v. Seibert, 542 U.S. 600, 608

   (2004).

             Based on the evidence presented, the Court finds that Defendant Plaines did not make

   any out-of-court statements to law enforcement at the time police were attempting to gain entry

   to the apartment or shortly after police entered the apartment. None of the officers testifying at

   the evidentiary hearing claimed that Defendant made any statements in furtherance of the

   conspiracy to law enforcement officers. Therefore, it is recommended the Motion to Suppress

   any out-of-court statements made by Defendant be DENIED as moot.

                                      IV. RECOMMENDATION

             I recommend that Defendant’s Motion to Suppress (ECF No. 121) be DENIED because

   the warrantless search of the apartment was justified by exigent circumstances, the state search

   warrant was valid, and Defendant did not make any out-of-court statements to law enforcement

   officers at the time they entered the apartment.

             Any party may file with the Clerk of the Court written objections identifying the portions

   of the Report and Recommendation to which objection is made, and the basis for such objection.

   Objections are due at the pretrial conference scheduled before the Honorable Gina M. Groh on

   Thursday, March 6, 2014. A copy of such objections should also be submitted to the District

   Court Judge of Record. Failure to timely file objections to the Order set forth above will result

   in a waiver of the right to appeal from a judgment of this Court based upon such Order.

             The Clerk of the Court is directed to transmit a copy of this Order to parties who appear

   pro se and any counsel of record, as applicable.

   DATED: March 5, 2014
                                                          /s/ James E. Seibert
                                                          JAMES E. SEIBERT
                                                          UNITED STATES MAGISTRATE JUDGE
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